Case: 4:15-cr-00049-CDP-DDN Doc. #: 495 Filed: 03/08/19 Page: 1 of 9 PageID #: 2337



                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

  UNITED STATES OF AMERICA,                      )
                                                 )
                        Plaintiff,               )
                                                 )
               v.                                )          No. 4:15 CR 49 CDP
                                                 )
  MEDIHA MEDY SALKICEVIC,                        )
                                                 )
                        Defendant.               )

               ORDER REGARDING RECONSIDERATION OF DETENTION
         Defendant Mediha Medy Salkicevic has moved (Doc. 460) for reconsideration of the
  Detention Order issued on April 17, 2015. (Doc. 145). A hearing was held on October 23, 2018.
  Detention hearings were originally held on March 11 and 23, 2015.
         Defendant Salkicevic is charged by indictment with 2 counts of violating 18 U.S.C. §
  2339A (Counts 1 and 3). The Detention Order describes more specifically the allegations against
  defendant:
                  Specifically, the indictment alleges defendant Salkicevic contributed her
         personal money and collected money from others to support Abdullah Ramo Pazara
         and others who were fighting in Syria, Iraq, and elsewhere and who were conspiring
         to murder and maim others; used digital internet media to communicate with others,
         using coded language and aliases, about the actual fighting and killing outside the
         United States by persons who were supported by the money she contributed;
         transferred $1,500.00 to a co-defendant's financial account between August 10 and
         12, 2013; transferred $1,200.00 to the co-defendant's account between October 6
         and 10, 2013; and transferred $1,062 to this account on January 4, 2014. The
         indictment also alleges that on October 19, 2013 co-defendant Hodzic and
         Salkicevic communicated with each other about the use to which two long sniper
         rifle scopes could be put.

  (Doc. 145 at 1-2).
                                       2015 Detention Order
         In the April 2015 determination that defendant Salkicevic must be detained, the Court made
  the following findings:
Case: 4:15-cr-00049-CDP-DDN Doc. #: 495 Filed: 03/08/19 Page: 2 of 9 PageID #: 2338




                The parties have not made any substantial objection to the statements of fact
        set forth in the written reports of the Pretrial Services Offices in the Northern
        District of Illinois, where defendant was arrested, or in this district. (Doc. 55.)
        Therefore, the court hereby adopts and incorporates by reference into this Detention
        Order the facts set forth in those reports. Also before the court are Government
        Exhibits 1 through 10, and 2a through 9a.

                From the record described above, especially the pretrial services reports, the
        court finds that defendant Mediha Medy Salkicevic is 34 years of age. She was
        born in Bosnia and came to the United States in 1999. She is a naturalized
        American citizen. She traveled to Bosnia in 2014; her U.S. passport was
        confiscated by the arresting agents. Her father is deceased; her mother resides in
        Bosnia. Of her four living siblings, three live in Bosnia and a sister in Illinois.
        She has been married twice and has borne two children during each marriage. She,
        her current husband, a legal U.S. resident, and all four minor children live in
        northern Illinois. Defendant has no criminal record.

                Defendant's husband told the pretrial services officer that he would be a
        surety on an appearance bond and defendant's third-party custodian. However,
        their financial circumstances are modest; both he and defendant work different
        shifts to be sure the children are cared for; and they personally do not have
        substantial money to secure a high bond amount. Defendant advised that her sister
        in northern Illinois helps care for their children.

                Defendant reported she traveled to Bosnia in 2001, 2004, 2009, and 2014.
        Her husband also reported that defendant is building a house in Bosnia; it is
        currently under construction on land currently valued at a substantial amount, free
        and clear of debt. She has plans to return to Bosnia to raise her children.

                Defendant herself assured the pretrial services officer in this district that she
        had friends who would post property to secure her release; her husband advised he
        was unaware of whom she referred. During the detention hearing, defendant
        proffered that a named individual in New York had debt free real property valued at
        $105,000.00, and another named person in Chicago had debt free real property
        valued at $114,000.00, both of whom would use the respective properties to secure
        defendant's release. Defendant has medical conditions for which she takes
        medication.

                During the detention hearing substantial evidence was received that
        defendant has used two alias names in frequent internet communications with
        several people, including at least one co-defendant, indicating her very strong
        support for the armed and violent killing by others outside the United States alleged
        in the indictment. When she and two of her children were arrested on February 6,
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Case: 4:15-cr-00049-CDP-DDN Doc. #: 495 Filed: 03/08/19 Page: 3 of 9 PageID #: 2339




           2015 in Chicago on the instant indictment, during a traffic stop, defendant stated
           they were en route to getting their passports renewed so they could travel to Bosnia.

  (Doc. 145 at 3-4). Further,

                  Relevant to whether defendant would be a danger to the community are her
           prior criminal history, the nature of the offenses charged in the
           indictment, the nature and strength of the government's evidence, and other indicia
           of dangerousness. The record before this court indicates that defendant has no
           criminal record. Yet, the nature of the charges against her are very serious and
           Congress considers them so. They involve great violence for which she frequently
           used the internet to show her support. The grand jury in this district found
           probable cause to believe defendant transferred a total of $3,762.00 during late
           2013 and early 2014, when she and her husband and children were living in modest
           circumstances, while she traveled to Bosnia several times, including 2014, and
           while she was constructing a home in Bosnia.

                   Defendant presents a substantial risk for flight. She has used several alias
           names, has ties outside the United States, is building a home outside the United
           States, and was planning to leave the United States when she was arrested.
           Further, the potential penalties of imprisonment upon conviction in this case are a
           strong incentive for flight.

  (Id. at 5).


                                Motion for Reconsideration of Detention
           The Bail Reform Act of 1984 provides the applicable standard for reconsidering a detention
  order:
           The [detention] hearing may be reopened, before or after a determination by the
           judicial officer, at any time before trial if the judicial officer finds that information
           exists that was not known to the movant at the time of the hearing and that has a
           material       bearing       on       the        issue      whether        there      are
           conditions of release that will reasonably assure the appearance of such person as
           required and the safety of any other person and the community.

  18 U.S.C. § 3142(f)(2). The motion for reconsideration of the detention order is in accord. (Doc.
  460 at 2) (citing United States v. Petters, 2009 WL 205188 at *2 (S.D. Minn.) (quoting United
  States v. Archambault, 240 F. Supp.2d 1082, 1084 (D.S.D. 2002)).

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Case: 4:15-cr-00049-CDP-DDN Doc. #: 495 Filed: 03/08/19 Page: 4 of 9 PageID #: 2340




                                  Assertedly Changed Circumstances
         Defendant Salkicevic argues that since the beginning of her detention relevant
  circumstances have changed that support pretrial release: (1) She is a naturalized American
  citizen who has a residence in Chicago with her husband, who is a lawful permanent resident, and
  their 4 daughters, the youngest of whom is now 9 years of age. (2) Her spouse is willing to act as
  a third-party custodian. (3) She has been housed by the Marshals Service since February 2015 in
  the Ste. Genevieve County Jail, has had no violation, and has been an "exemplary" detainee. (4)
  She would abide by any condition(s) of release ordered by the Court. (5) She has limited funds
  with which to secure an appearance bond. (Doc. 460 at 6-7).
         Regarding circumstance (1), only the increased age of defendant's youngest daughter is a
  changed circumstance. All the other facts in (1) and circumstances (2) and (4) were accounted for
  in the original determination to detain defendant Salkicevic.
         Regarding (3), the undersigned took the liberty to ask the Marshals Service to informally
  enquire of the Ste. Genevieve County Jail personnel about whether defendant Mediha Medy
  Salkicevic has been and remains an "exemplary" pretrial detainee, as it is argued. The Marshals
  Service made the enquiry and reported informally to the Court that the jail personnel reported
  defendant has been a very cooperative detainee who has not caused any problem.
         Also, the passage of time during defendant's extended detention is a changed circumstance
  that bears substantial consideration in other respects. As stated above, the changed, but still
  young, age of defendant's youngest child is an important factor that weighs on the Court's
  determination to detain defendant. While the Court found in the Detention Order that clear and
  convincing evidence establishes that no condition or combination of conditions of release would
  reasonably assure the Court that defendant will not flee and will not endanger the community, if
  released, Doc. 145 at 5-6, the passage of time may have changed the factual support for defendant's
  continued detention. Her appearance in court and her not posing a danger to the community are
  cardinal factors under the Bail Reform Act in determining whether to release or to detain her.
         From the current record, the statutory requirement for reconsideration of the detention
  order requires that the Court determine the current effect of the lengthy period of pretrial detention

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Case: 4:15-cr-00049-CDP-DDN Doc. #: 495 Filed: 03/08/19 Page: 5 of 9 PageID #: 2341




  on the Bail Reform Act's standards for pretrial detention. For this reason, the Court will order a
  supplemental bail report and set a hearing for its consideration.


                                             Due Process
         Defendant also argues that the substantial length of her pretrial detention 1 under the Bail
  Reform Act has become punitive, in violation of the Fifth Amendment's Due Process Clause, citing
  Bell v. Wolfish, 441 U.S. 520, 535, 538 (1979). The Supreme Court has not given a "bright line
  limit" for when the length of pretrial detention under the Bail Reform Act moves from
  appropriately "regulatory" (by preventing danger to the community and assuring defendant's
  presence in court when required) to "excessively prolonged" and thus unconstitutionally punitive;
  rather, this determination must be made on a case-by-case basis. United States v. Salerno, 481
  U.S. 739, 747 n. 4 (1987); United States v. Rush, 2017 WL 6541436 at *3 (E.D. Mo. Dec. 1, 2017)
  (Mensah, M. J., Report and Recommendation), adopted, United States v. Rush, 2017 WL 6550680
  (E.D. Mo. Dec. 21, 2017).
         A factor that relates to whether the length of pretrial detention remains regulatory is
  whether it is within "the stringent time limitations of the Speedy Trial Act." Salerno, 481 U. S. at
  747. It cannot be gainsaid that this case is a complex case and for this reason qualifies for the
  exclusion of periods of delay, because to comply with the 70-day trial setting requirement of 18
  U.S.C. § 3161(c)(1) would be to unreasonably "expect adequate preparation for pretrial
  proceedings or for the trial itself within the time limits established by this section." 18 U.S.C. §
  3161(h)(7)(B)(ii). Defendant has never objected to this case being considered complex and
  entitled to the exclusion of the Speedy Trial Act default deadlines. This is due to many factors,
  including the nature of the offenses charged in the indictment, the amount and complexity of the
  evidence and information disclosure of which the defendants have a right under the Constitution,
  and the nature of the pretrial motions which the defendants, including defendant Salkicevic, filed
  and were heard on. Upon this foundation and such findings, the Court very early in the case

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    Defendant Mediha Medy Salkicevic has been in the custody of the United States Marshals
  Service continuously since her arrest on February 6, 2015, in the Northern District of Illinois for
  this case.
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Case: 4:15-cr-00049-CDP-DDN Doc. #: 495 Filed: 03/08/19 Page: 6 of 9 PageID #: 2342




  determined for defendant Salkicevic that this case was complex and entitled to the exclusion of
  periods of time required by the parties for pretrial preparation. (Doc. 67, filed March 10, 2015);
  see also Docs. 35 for defendants Ramiz Zijad Hodzic and Sedina Unkic Hodzic, 78 for defendant
  Mediha Medy Salkicevic, 113 for defendant Jazminka Ramic, and 135 for defendant Armin
  Harcevic. A review of the record since these complexity findings were made shows that the case
  remains complex for a variety of reasons and that no defendant has demanded that a trial date be
  set, although defense counsel have on several occasions reminded the Court about the length of
  defendants' pretrial detention.
         Another factor regarding whether the length of pretrial detention makes the pretrial
  detention punitive is the extent to which the government's interest in community safety outweighs
  an individual defendant's liberty interest. Salerno, 481 U. S. at 748-49. In Salerno, the Supreme
  Court considered the facial constitutionality of the Bail Reform Act. The Court determined that
  pretrial detention to protect the community, when proven by clear and convincing evidence under
  the Bail Reform Act, is a constitutionally sufficient reason for pretrial detention. Salerno, 481 U.
  S. at 750-51. The application of Salerno to defendant Salkicevic's case is very limited because the
  length of pretrial detention was not a relevant factor in Salerno.
         More relevant to the due process constitutionality of lengthy pretrial detention are: (a) the
  facts that led to the defendant's original pretrial detention and the strength of the government's
  evidence on these facts, including any statutory presumption for detention; (b) the past and
  non-speculative future lengths of pretrial detention; (c) the extent of the government's or the
  defendant's responsibility for the length of pretrial detention; and (d) the gravity of the pending
  charges. 2 United States v. Hare, 873 F.3d 796, 801 (5th Cir. 1989); United States v. Briggs, 697
  F.3d 98, 101 (2d Cir. 2012); United States v. Ojeda Rios, 846 F.2d 167, 169 (2d Cir. 1988); United
  States v. Zannino, 798 F.2d 544, 547 (1st Cir. 1986); United States v. Accetturo, 783 F.2d 382, 388
  (3d Cir. 1986); United States v. Rush, 2017 WL 6541436 at *3; United States v. Omar, 157 F.
  Supp.3d 707, 715 (M.D. Tenn. 2017); Archambault, 240 F. Supp. 2d at 1085).

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   The Court directed counsel for the parties to provide it a reasonable estimate of the Sentencing
  Guidelines range upon a finding of guilt. The government responded that for Counts 1 and 3 this
  defendant might be sentenced to imprisonment for 360 months to life. (Doc. 472 at 2).
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Case: 4:15-cr-00049-CDP-DDN Doc. #: 495 Filed: 03/08/19 Page: 7 of 9 PageID #: 2343




                              (a) Reasons for the original detention order
          The evidence, findings, and conclusions that led to defendant Salkicevic's original pretrial
  detention are set out above. They include defendant's strong intention to relocate to her residence
  to Bosnia, the government's showing that its evidence was strong, and the potential for substantial
  punishment upon conviction. The strength of the government's evidence against defendant,
  including any statutory presumption for detention, remains strong and has not diminished over
  time.


                   (b) Past and non-speculative future lengths of pretrial detention
          Defendant argues that the length of time she has been detained in custody weighs heavily in
  favor of release even if upon restrictive conditions of release, such as home incarceration and
  electronic monitoring. As of this writing, although this defendant has a March 21, 2019 hearing
  setting before the District Judge, there is no trial setting, and currently the length of further pretrial
  detention, if the case is not otherwise determined, can only be speculative.


                    (c) Extent of the government's or the defendant's responsibility
                                for the length of her pretrial detention

          Other than the very substantial size of the government pretrial disclosure of information
  and evidence and the need for translating very much of it into English from the Bosnian language,
  which the defendants speak, defendant has pointed to no substantial responsibility of the
  government for the length of pretrial proceedings and the defendant's concomitant pretrial
  detention. In fact, all parties filed motions for extensions of time to consider pretrial matters.
  Defendant Salkicevic attributes the length of pretrial development of the case to the magnitude of
  the pretrial discovery that has been provided by the government. Defendants also note that there
  is no trial date set, and the government has indicated that it could disclose more information to the
  defendants.
          In response, the government points out that on several occasions the Court declared that
  this was a complex case. The purposes of this determination were to advise the parties about the
                                                7
Case: 4:15-cr-00049-CDP-DDN Doc. #: 495 Filed: 03/08/19 Page: 8 of 9 PageID #: 2344




  likely length of pretrial preparation and litigation and to take advantage of the statutory exceptions
  built into the Speedy Trial Act, for the benefit of both the prosecution and the defense. If the
  parties were required by this Act to prepare for a very prompt trial setting, neither the prosecution
  nor the defense would have had sufficient time to prepare and the interests of justice would have
  been jeopardized.
           The Court has held regular status conferences to assure itself that the government was
  promptly and appropriately disclosing information and evidence to the defense and that the
  defendants were processing this information with interpreters of their own choosing in a manner
  that safeguards defendants' interests.
           The record also indicates that the government sought hearings pursuant to Frye v. Missouri,
  132 S. Ct. 1399 (2012), and the Court set hearings for March 2017. However, before the Frye
  hearings were held, the prosecution and the defense entered further negotiations and discussions
  regarding those hearings and any potential superseding indictment. The parties did not press for
  the Frye hearings, the government delayed seeking a superseding indictment, and the defendants
  pursued the issue of lawful combatant immunity. That issue was heard and determined by the
  Court.
           None of the grants of additional time, whether for the government or the defendants, were
  unreasonably sought and granted. Throughout the lengthy pretrial period, the Court has observed
  that counsel for the government and counsel for the defendants have cooperated in the pretrial
  preparation and litigation.
           Also relevant is the fact that at different times defendant Salkicevic experienced the need
  for new counsel.      To the credit of the newly added defense counsel and counsel for the
  government, the Court has not observed a slowing of the pretrial preparation occasioned by new
  defense counsel being brought into the case mid-litigation.
            In sum, the Court finds and concludes that the length of the pretrial period, although
  lengthy, has not been unreasonable and an adverse consideration for the delay cannot be attributed
  to the government or to the defense.



                                                    8
Case: 4:15-cr-00049-CDP-DDN Doc. #: 495 Filed: 03/08/19 Page: 9 of 9 PageID #: 2345




                              (d) The gravity of the pending charges
         There is no dispute that the charges against defendant in the current indictment are very
  serious. The statutory maximum sentences potentially carry substantial terms of incarceration.
         For all of the reasons, the continued and lengthy pretrial detention of defendant Mediha
  Medy Salkicevic does not violate due process.


         For the reasons set forth above,
         IT IS HEREBY ORDERED that the Pretrial Services Office conduct a supplemental
  investigation on whether defendant Mediha Medy Salkicevic ought to be detained or continued in
  detention. This investigation should include whether there are American citizen sureties for an
  appropriate appearance bond and whether a suitable home plan for defendant's residence in this
  district or elsewhere can be established. Following the receipt of this report, a supplemental
  hearing will be set.




                                                    /S/ David D. Noce
                                              UNITED STATES MAGISTRATE JUDGE

  Signed on March 8, 2019.




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